             UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF TENNESSEE
                      NASHVILLE DIVISION

FEDERAL TRADE COMMISSION, :
                          :
    Plaintiff,            :               Case No. 3:22-cv-00895
                          :               JUDGE RICHARDSON
    v.                    :
                          :
ACRO SERVICES LLC, et.al, :
                          :
    Defendants.           :

   ORDER GRANTING RECEIVER’S SECOND MOTION TO EXTEND
       RECEIVERSHIP TO AND THROUGH AUGUST 6, 2024

      This matter is before the Court on the Receiver’s Second Motion to Extend

Receivership and Status Report (the “Motion to Extend”) (ECF No. 115).

Pursuant to Section IX(A) at Page 19 of the Default Final Order For Permanent

Injunction And Monetary Judgment As To Defendants Acro Services LLC,

American Consumer Rights Organization, First Call Processing LLC, Music

City Ventures, Inc., Nashville Tennessee Ventures, Inc., Reliance Solutions,

LLC, Thacker & Associates Int’l LLC, And Consumer Protection Resources,

LLC   (the “Default Judgment”) (ECF No. 101), the Court directed that the

term of the Receivership previously established by this Court be extended for a

period of 180 days from the date of Default Judgment. The Court further

directed in the Default Judgment that the term of the Receivership could be

extended for “good cause” upon a motion of the
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Receiver or any party in interest. Pursuant to this provision, the Receiver’s term

was scheduled to expire on February 6, 2024.

      On February 1, 2024, the Receiver filed his Motion to Extend

Receivership and Status Report (ECF No. 113) wherein the Receiver requested that

the Receiver’s term be extended to and through June 7, 2024. The Court entered

an Order granting this Motion on February 4, 2024 (ECF No. 114) and

extended the term of the Receivership to and through June 7, 2024.

      In this Second Motion to Extend, the Receiver has stated that good

cause exists to extend the Receivership and has requested to extend the

Receivership to and through August 6, 2024.

      The Plaintiff in this case, the Federal Trade Commission, does not oppose

the relief sought in the Motion to Extend.

      This Court has reviewed and considered the Motion to Extend and, for good

cause shown, it is hereby:

      ORDERED that the Motion to Extend is GRANTED; and it is further and

finally

      ORDERED that the term of the Receiver as established in Section IX(A) of

          the Default Judgment is hereby extended to and through August 6, 2024,

                                                                          provided,



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however, that the Default Judgment remains otherwise unaltered and in full force

and effect.


              IT IS SO ORDERED this 5th day of June, 2024


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